Case 1-14-41000-cec DOClo Filed Vo/Zo/l4 Entered Voizo/14 11'42ios

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

NOTICE OF APPEARANCE
IN RE DEMAND FOR PAPERS
SERVICE OF PAPERS

264 LENOX, LLC, Chapter 11

Debtor. Case 1-14-41650-cec

 

PLEASE TAKE NOTICE, that ColFin FCSB Funding A, LLC, appears herein by its
counsel, Coritsidis & Lambros, PLLC, and demands pursuant to Rules 2002, 9007 and 9010 of
the Bankruptcy Rules and Section 102(1) of the Bankruptcy Code, that all notices given or
required to be given in this case and all papers served or required to be served in this case, be
given to and served upon the undersigned at the following office address and telephone:

Coritsidis & Lambros, PLLC

46 Trinity Place, 4" Floor

New York, New York 10006

Attn: Jeffrey A. Gangemi (JG-1116)
(212) 797-4600, Fax (212) 797-4601

PLEASE TAKE NOTICE, that pursuant to the foregoing provisions of the Bankruptcy
Code, the foregoing demand includes not only notices and papers referred to in the Rules
specified above, but also includes, without limitation, orders and notices of any application,
motion, pleading, request, complaint or demand, whether formal or informal, whether written or
oral and whether transmitted or conveyed by mail, delivery, telephone, telegraph, telex or
otherwise, which may affect or seek to affect, in any way, the rights or interest of ColFin FCSB

Funding A, LLC, with respect to the debtor’s property or proceeds thereof in which the debtor

may claim an interest.
Case 1-14-41000-cec DOClo Filed Vo/Zo/l4 Entered Voizo/14 11'42ios

Dated: New York, NY
May 28, 2014

Coritsidis & Lambros, PLLC

‘sf Jeffrey A, Gangemi
By: Jeffrey A. Gangemi (JG-1116)
Attorneys for Creditor
(alFin FCSB Funding A, LLC
46 Trinity Place, 4" Floor
New York, New York 10006
(212) 797-4600, Fax (212) 797-4601
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UNITED STATES BANKRUPTCY COURT
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IN RE

264 LENOX, LLC, Chapter 11

Debtor. Case 1-14-41650-cec

 

AFFIDAVIT OF SERVICE BY MAIL

Paloma Garcia being sworn deposes and says: I am not a party to this action and J am
over 18 years of age.

On May 28, 2014, I served the within Notice of Appearance Demand for Papers
Service of Papers upon the following parties or attorneys in this action, at the addresses stated
below, by depositing a true copy of same enclosed in a postpaid, First Class, properly addressed
wrapper, in an official depositary under the exclusive care and custody of the United States
Postal Service within the State of New York.

Debtor
264 Lenox, LLC
3145 Coney Island Avenue
Brooklyn, NY 11235

Alla Kachan
Law Offices of Alla Kachan, P.C.
Altorney for Debtor
415 Brighton Beach Avenue, 2nd Floor
Brooklyn, NY 11235

US. Trustee
Office of the United States Trustee
Eastern District of NY
ULS. Federal Office Building
201 Varick Street, Suite 1006
New York, NY 10014

Alex Solomon
1300 Flatbush Ave
Brooklyn, NY 11210
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Jacob Solomon
1629 E 2nd Street
Brooklyn, NY 11230

Saadia Shapiro
3145 Coney Island Avenue
Brooklyn, NY 11235

 

 

Sworn to before me on
this 28" day of May, 2014

ZA gz (ndlte
Notary Public i/

cy

 
  
  

FRANK JORDAN
Public, State of New Week |
No, 01306217831 :
Qualified in Richmond C :
Commission Expires Feb. 22, 2018 |

 

 

 
